Case 2:19-cv-00662-SVW-JPR Document 45-2 Filed 11/15/19 Page 1 of 4 Page ID #:352



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    7                                 UNITED STATES DISTRICT COURT

    8                          FOR THE CENTRAL DISTRICT OF CALIFORNIA

    9
        TRANSAMERICAN LIFE                )                CASE NO. 2:19-CV-00662-SVW-
   10 INSURANCE COMPANY,                  )                JPR
                                          )
   11               Plaintiff,            )                Hon. Stephen V. Wilson
                                          )
   12   VLADIMIR LUKASHIN,                )                DECLARATION OF JULIA
        OKSANA FAERMAN; GOLDEN )                           SKLAR IN SUPPORT OF
   13   AGE HOME CARE, AND                )                DEFENDANT VLADIMIR
        ROBERT PARKENS (Individually) )                    LUKASHIN’S EX PARTE
   14   And as Principal of Gold Age Home )                APPLICATION TO CONTINUE
        Care),                            )                TRIAL AND RELATED PRE-
   15                                     )                TRIAL DEADLINES, AS BASED
                    Defendants.           )                ON THE STIPULATION OF
   16                                     )                PARTES
                                          )
   17

   18           I, JULIA SKLAR, declare:
   19           1.         I am an attorney at law licensed to practice before all the courts of the
   20 State of California, and have been admitted to this Court. I am the attorney of record

   21 for Defendant for Defendant Vladimir Lukashin (“Defendant”). The following is

   22 based upon my personal knowledge and beliefs, if called upon as a witness to testify

   23 in this matter, I could and would testify competently thereto.

   24           2.         This declaration is submitted in support of Defendant Vladimir
   25 Lukashin’ Ex Parte Application to Continue Trial and Related Pre-Trial Deadlines, as

   26 the Application is based on the Stipulation of Parties.
   27           3.         This is the first request of Defendant Vladimir Lukashin to continue
   28 scheduled events in this matter.


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Case 2:19-cv-00662-SVW-JPR Document 45-2 Filed 11/15/19 Page 2 of 4 Page ID #:353



    1        4.     Plaintiff Transamerica Life Insurance Company (“Plaintiff”) filed this
    2 action against Defendants Vladimir Lukashin, an individual, Oksana Faerman, an

    3 individual, Golden Age Home Care, and Robert Parkens, individually and as the

    4 principal of Gold Age Home Care. Plaintiff alleges that defendants defrauded the

    5 insurance company.

    6        5.     The complaint includes a claim for fraud and a number of related causes
    7 of action. The complaint was filed on January 29, 2019. The only defendant who has

    8 not been served in the action and did not answer to the complaint is Oksana Faerman.

    9        6.     On April 10, 2019, the parties met and conferred in advance of Court’s
   10 Initial Status Conference. The Court held the conference on April 10, 2019. At that

   11 time, the court set the following dates: Discovery Cut Off Date - August 26, 2019;

   12 Dispositive Motion Nearing - August 26, 2019; Pretrial Conference – October 22,

   13 2019; Jury Trial - October 22, 2019. There is a dispute among the parties regarding

   14 the question of whether any discovery cut off date was set by the Court at the Initial

   15 Status Conference and, in turn, whether the Court extended the period of discovery

   16 when it granted Transamerica’s August 8, 2019 ex parte continuance application on

   17 August 26, 2019 (ECF No. 40).

   18        7.     All the parties have timely served their Initial Disclosures. The parties
   19 have exchanged with the extensive written discovery. Plaintiff has reported that it

   20 intends to take over 10 depositions of the doctors and parties involved in the case. On

   21 October 25, 2019, Plaintiff filed a motion to compel information and documents from

   22 Defendant Vladimir Lukashin. The motion presently is set for hearing on November

   23 21, 2019.

   24        8.     On August 8, 2019, Plaintiff filed the Ex Parte Application to Continue
   25 Trial. Plaintiff requested a continuance of the trial from October 22, 2019 to February

   26 19, 2020. Plaintiff reasoned that it will suffer irreparable prejudice if its application is
   27 not granted, because it needed more time for the discovery.

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                                    DECLARATION OF JULIE SKLAR
Case 2:19-cv-00662-SVW-JPR Document 45-2 Filed 11/15/19 Page 3 of 4 Page ID #:354



    1        9.     On August 26, 2019, the Plaintiff’s Ex Parte Application was granted.
    2 Final Status Conference was reset for January 13, 2020, Trial was reset for January

    3 21, 2020.

    4        10.    On October 16, 2019, I filed the Notice of Unavailability, which was
    5 entered on October 20, 2019. I advised that I will be unavailable for all purposes

    6 concerning the litigation, through and including February 29, 2020.

    7        11.    To reiterate, the instant Ex Parte Application is the first request of
    8 Defendant Vladimir Lukashin to continue the trial and the scheduled pre-trial events

    9 in this matter.
   10        12.    Attached hereto as Exhibit 1 is a true a correct copy of the Joint
   11 Stipulation to Continue Trial, as one of the grounds for the instant Ex Parte

   12 Application of Defendant Vladimir Lukashin. The Stipulation is prepared and signed

   13 by all the parties who appeared in the action. Defendant Lukashin seeks by the instant

   14 application a relief on the terms set forth in the Joint Stipulation.

   15        13.    I sincerely believe that there is a good cause for granting the relief sought
   16 by the instant ex parte application. It concerns my family, for which an extraordinary

   17 and heavy hearted situation is created. I have to take care for the immediate family

   18 members with a serious and acute health conditions. It is my mother and mother in

   19 law. The health conditions of my mothers is rapidly deteriorating, and the

   20 circumstances of the needed care are such that it creates the non-delegable

   21 responsibility for myself.

   22        14.    I believe that the requirement for the diligence on behalf of my client is
   23 satisfied here. We have complied with all the Court’s schedules, the pretrial

   24 preparations. I served on behalf of my client the necessary discovery requests and

   25 responded to the discovery propounded on him. I have been in contact with the

   26 attorneys representing the other parties, and initiated the Joint Stipulation filed
   27 herewith.

   28


                                    DECLARATION OF JULIE SKLAR
Case 2:19-cv-00662-SVW-JPR Document 45-2 Filed 11/15/19 Page 4 of 4 Page ID #:355



    1        15.    I also believe that Defendant Lukashin will be severely prejudiced if the
    2 continuance of trial is refused, as I am his only attorney.

    3        16.    I further believe that no other party will suffer a prejudice from a
    4 continuance. To reiterate, Plaintiff Transamerica has reported that significant

    5 additional discovery is needed. Particularly, Plaintiff intends to take over 10

    6 depositions of the doctors and parties involved in the case. On October 25, 2019,

    7 Plaintiff filed a motion to compel information and documents from Defendant

    8 Vladimir Lukashin. The motion includes the Joint Stipulation of the parties and the

    9 points of nonagreement regarding the motion. The motion presently is set for hearing
   10 on November 21, 2019. The Joint Stipulation to Continue Trial, attached hereto as

   11 Exhibit 1, includes the stipulation to adjourn the hearing on the motion until March 5,

   12 2020, if allowed by the Court.

   13        17.    Mr. Voronin, counsel for Defendants Golden Age Home Care, and
   14 Robert Parkens, has also advised that he and his clients will be unavailable April 3,

   15 2020 through April 10, 2020 and April 14, 2020 through April 21, 2020., for pre-

   16 planned trips and family matters. He also reported that Robert Parkens will be

   17 unavailable April 10, 2020 through May 6, 2020 , and for the entire month of August

   18 2020for pre-planned trips and family matters.

   19        I declare under penalty of perjury under the applicable laws that the foregoing
   20 is true and correct.

   21        Executed this 15th day of November 2019, at Los Angeles, California.
   22

   23
                                              ______/s/ Julia Sklar________________
                                              JULIA SKLAR, Declarant
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                                   DECLARATION OF JULIE SKLAR
